876 F.2d 894
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Joseph KAPUSIN, Plaintiff-Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    No. 88-1840.
    United States Court of Appeals, Sixth Circuit.
    June 16, 1989.
    
      Before KENNEDY and WELLFORD, Circuit Judges, and JOHN W. PECK, Senior Circuit Judge.
      PER CURIAM.
    
    
      1
      Joseph Kapusin appeals from the judgment of the District Court affirming the Secretary of Health and Human Services' denial of his claim for disability benefits.
    
    
      2
      Upon consideration of the entire record and the briefs filed herein, we AFFIRM the judgment of the District Court for the reasons stated in the Magistrate's Report and Recommendation as adopted by the District Court in its judgment filed on July 29, 1988.
    
    